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 5    Attorney for Plaintiff,
      TAMARA DOUKAS
 6

 7                          THE UNITED STATES DISTRICT COURT

 8                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9                                 DIVISION OF SAN FRANCISCO
10
     TAMARA DOUKAS, an individual,                 Case No.: 08 2336 SI
11
                      Plaintiff,                   DECLARATION OF TAMARA DOUKAS
12
                                                   IN SUPPORT OF PLAINTIFF’S BRIEF
           vs.                                     RE: JURISDICTION
13
     COUNTY OF SAN MATEO, a public Hearing Date/Time: October 3, 2008 9:00 a.m.
14
     entity, PENINSULA HUMANE           Hearing Judge: Hon. Susan Illston
15
     SOCIETY, a private non-profit
     organization, DEBI DENARDI, an
16   individual, KIM HADDAD, an
     individual, and DOES 1 through 50,
17   inclusive,

18                  Defendants.

19
           I, Tamara Doukas, declare:
20
           1. I am the Plaintiff in this action.
21
           2. My qualifications include:
22
                  a. With my medical background and responsible care for Kodiak over 13 years, I
23
                      had full knowledge of Kodiak’s medical history and health status.
24
                  b. PhD candidate at Stanford University School of Medicine in the Department
26
      DECLARATION OF TAMARA DOUKAS
27                                                   1
28
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 1
                    of Microbiology and Immunology
 2
                c. Master of Science degree in Biological Sciences from Stanford University
 3
                d. Editor-in-Chief Emeritus and Science Advisor of Stanford Scientific
 4
                    Magazine
 5
                e. Scientific/Biological Researcher at NASA Ames Research Center
 6
                f. Research consultant, Department of Electrical Engineering, Stanford
 7
                    University
 8
                g. One of the central volunteer members of the Bay Area’s animal rescue and
 9
                    rehabilitation organization “Mickaboo Bird Rescue”
10
                h. Volunteer at rescue organization “California Chinchilla Rescue”
11
                i. Science and math tutor to kids of all ages
12

13
        3. On August 2, 2006, I took my dog Kodiak to the San Mateo Animal Hospital due to
14
             an acute illness caused by the consumption of a very large amount of chicken liver.
15
             At the time, Kodiak was 13 years old, and I would compare him to an 80 year old
16
             person. He was aging, but basically healthy and enjoying a very full and happy life,
17
             taking daily walks with me and receiving excellent care. He quite possibly could
18
             have had another year of quality life left. At the time of the incident and now, my
19
             opinion based on his medical records, visits with different veterinarians, and based on
20
             my knowledge of medicine, is that his medical records show that he was an elderly
21
             dog who was in general good health. Additionally, the Alaskan Malamute life span is
22
             12-15 years, and his mother lived to be almost 15.
23
        4.    I am blessed with many friends and close family and what I consider to be a very
24
             successful career. But Kodiak was my best friend for 13 years, and I deeply loved
25
     DECLARATION OF TAMARA DOUKAS
26                                                 2
27
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 1
                him. I always took extremely good care of him and I was very attentive to him and his
 2
                quality of life.
 3
            5. On August 2, 2006, Officer Debi Denardi appeared at the San Mateo Animal Hospital
 4
                without prior notice to me, ½ hour after I arrived there with Kodiak. Refusing to give
 5
                Kodiak diagnostic testing or treatment, Denardi and Haddad spent 3 hours
 6
                demanding that Kodiak be killed immediately. They refused to perform any
 7
                diagnostic testing or treatment. They would not allow me to leave the hospital in
 8
                order to obtain vet care elsewhere from any other vet. Haddad expressed that her
 9
                personal opinion is that old animals and humans should be put to sleep, and she
10
                declared that she had the authority to enforce euthanasia of an old animal. I asked for
11
                the right to have a second opinion, and they declined. Denardi told me that “This dog
12
                is not leaving this hospital alive.”
13
            6. No rational person could honestly state that I consented to Denardi, Haddad, or any
14
                other person killing Kodiak. He was forcibly killed over my objections. I did not
15
                physically interfere due to my understanding that Denardi was a police officer who
16
                declared that I would be charged with felony animal abuse if I tried to receive
17
                medical care for Kodiak or defy her commands to have Kodiak immediately put to
18
                sleep.
19
            I declare under penalty of perjury under the laws of the State of California that the
20
     foregoing is true and correct and that this declaration was executed on August 29, 2008, at Palo
21
     Alto, San Francisco, CA.
22

23

24                                                                       /S/
                                                                     TAMMY DOUKAS
25
       DECLARATION OF TAMARA DOUKAS
26                                                     3
27
